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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


IN RE:         FEMA TRAILER                                          MDL 1873
               FORMALDEHYDE PRODUCTS
               LIABILITY LITIGATION                                  SECTION “N” (5)

                                                                     JUDGE ENGELHARDT
                                                                     MAGISTRATE CHASEZ

THIS DOCUMENT PERTAINS TO

Doc # 1:09 CV833 HSO-JMR;
Latesha Anders, et al v. Gulf Stream Coach, Inc. et al


   AMENDED EXHIBIT A TO PLAINTIFFS’ AMENDED COMPLAINT
        PURSUANT TO PRETRIAL ORDER 53 AND CTO-24

       In compliance with Pretrial Order 53 (Rec. Doc. 9073) and pursuant to CTO-24,

Plaintiffs hereby amend Exhibit A to their Amended Complaint to match the following Plaintiffs

to the following Contractor/Installer Defendants:

                               Installed by Bechtel National, Inc.

Latesha Anders                                       Bennie Burton
5014 28th Street, Apt. 911                           1910 8th Street
Gulfport, MS 39501                                   Pascagoula, MS 39567

Shannon Bates                                        Aaron Johnson, Minor, Bennie Burton,
7069 W. Perry Street                                 Grandmother and Personal Representative
Bay St. Louis, MS 39520                              1910 8th Street
                                                     Pascagoula, MS 39567
Mark Bates
7069 W. Perry Street                                 Adrian Johnson, Minor, Bennie Burton,
Bay St. Louis, MS 39520                              Grandmother and Personal Representative
                                                     1910 8th Street
Archie Bradley                                       Pascagoula, MS 39567
273 Dorries Street
Biloxi, MS 39530


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Jennifer Callais                                Ronald Chelette
7201 La Rochelle Drive                          7428 Point Aux Chenes Road
Biloxi, MS 39532                                Ocean Springs, MS 39564

Joseph Callais, Minor, Jennifer Callais,        Sweetie Dallas
Mother and Personal Representative              113 Jamaica Street
7201 La Rochelle Drive                          Long Beach, MS 39560
Biloxi, MS 39532


Durwood Callais, Minor, Jennifer Callais,       Quantavian Dallas, Minor, Sweetie Dallas,
Mother and Personal Representative              Mother and Personal Representative
7201 La Rochelle Drive                          113 Jamaica Street
Biloxi, MS 39532                                Long Beach, MS 39560

Nathan Canon                                    Angela Daniel
907 East 2nd Street                             8270 West Oaklawn Road
Pass Christian, MS 39571                        Biloxi, MS 39532

Wallace Carnley                                 Ray Davison
6137 2nd Street                                 1402 Polk Avenue
Bay St. Louis, MS 39520                         Pascagoula, MS 39567

Sally Carnley                                   Mary Ann DeJong
6137 2nd Street                                 2300 Westbrook Street, Apt. 50
Bay St. Louis, MS 39520                         Ocean Springs, MS 39564

Betty Carter                                    Dylan Lee Myers, Minor, Mary Ann
4216 Rosa Lane                                  DeJong, Mother and Personal
Moss Point, MS 39563                            Representative
                                                2300 Westbrook Street Apt. 50
Marlon Ingram                                   Ocean Springs, MS 39564
4216 Rosa Lane
Moss Point, MS 39563                            Andrew Duncan
                                                3155 Highland Ave.
James Wright, Minor, Betty Carter,              D’Iberville, MS 39540
Grandmother and Personal Representative
4216 Rosa Lane                                  Loretta Easterling
Moss Point, MS 39563                            120 Woodcrest Drive
                                                Lucedale, MS 39452


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Samuel Easterling
120 Woodcrest Drive                             Joseph Griffin
Lucedale, MS 39452                              2308 Arnold Street
                                                Waveland, MS 39576
Gracee Havard, Minor, Loretta Easterling,
Mother and Personal Representative              Sandra Gulesich
120 Woodcrest Drive                             14457 Rhonda Court
Lucedale, MS 39452                              Gulfport, MS 39503

Dylan Havard, Minor, Loretta Easterling,        Charles L. Hansen
Mother and Personal Representative              3003 51st Avenue
120 Woodcrest Drive                             Gulfport, MS 39501
Lucedale, MS 39452
                                                Judy Hansen
                                                3003 51st Avenue
                                                Gulfport, MS 39501
Terry Evans
298 Holcomb Boulevard                           David Horodecky
Ocean Springs, MS 39564                         10121 Bayou View Drive W
                                                Bay St. Louis, MS 39520
Karen Farner
12301 Lafontaine Road
Gulfport, MS 39503                              Cleophus Jackson
                                                13325 Solomon Road
Anne Dean Fortenberry                           Ocean Springs, MS 39564
3004 10th Street
Pascagoula, MS 39581                            Octavia James
                                                2920 Monroe Street
Lacey Galjour                                   Gulfport, MS 39501
15501 Krohn Road
Ocean Springs, MS 39565                         Carolyn Jones
                                                2005 29th Avenue
Devin Lawrence, Minor, Lacey Galjour,           Gulfport, MS 39501
Mother and Personal Representative
15501 Krohn Road                                George Kiernan, IV
Ocean Springs, MS 39565                         6801 Bayou Pine Drive
                                                Biloxi, MS 39532
Dayton Lawrence, Minor, Lacey Galjour,
Mother and Personal Representative              Marsha Lyons
15501 Krohn Road                                4472 Unicorn Lane
Ocean Springs, MS 39565                         D’Iberville, MS 39540
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                                           Sally Noel-Smith
Danielle Lyons, Minor, Marsha Lyons,       Post Office Box 2037
Mother and Personal Representative         Gautier, MS 39553
4472 Unicorn Lane
D’Iberville, MS 39540                      Jannai Noel-Smith, Minor, Sally Noel-
                                           Smith, Mother and Personal Representative
Barry Lyons                                Post Office Box 2037
1079 Frank Corso Street                    Gautier, MS 39553
Biloxi, MS 39530
                                           Katharine Bryant Paige
Katherine Major                            8317 Mystic Circle
3120 Road 528, Lot 33                      Pass Christian, MS 39571
Kiln, MS 39556
                                           Gerald Paige
Betty McDaniel                             8317 Mystic Circle
2409 Fernwood Street                       Pass Christian, MS 39571
Pascagoula, MS 39567
                                           Curtis Paige
Jimmy McDaniel                             32021 Crane Creek Road
2409 Fernwood Street                       Perkinston, MS 39573
Pascagoula, MS 39567
                                           Daphanie Paige
Maude McKinley                             32021 Crane Creek Road
240 Reynoir Street                         Perkinston, MS 39573
Biloxi, MS 39530
                                           Bethanie Paige, Minor, Daphanie Paige,
                                           Mother and Personal Representative
                                           32021 Crane Creek Road
Freida McLendon                            Perkinston, MS 39573
15417 Big Ridge Road
Biloxi, MS 39532                           Noah Paige, Minor, Dapanie Paige, Mother
                                           and Personal Representative
Kathy L. Messier                           32021 Crane Creek Road
23212 Mennonite Road                       Perkinston, MS 39573
Gulfport, MS 39503
                                           Daniel P. Rasmussen
Mary Jane Nixon                            1615 Hollywood Boulevard
273 Dorries Street                         Biloxi, MS 39531
Biloxi, MS 39530



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John Robinson
12311 Salisbury Road                    Mason Cramer, Minor, Holly Smith, Mother
Gulfport, MS 39503                      and Personal Representative
                                        4602 Ingalls Avenue
Linda Robinson                          Pascagoula, MS 39581
4818 Kreole Avenue
Moss Point, MS 39563                    Eugene Sykes
                                        232 Main Street
Norman Lee Ruble                        Biloxi, MS 39530
1629 Nichols Court
Gulfport, MS 39501                      Stephanie Tait
                                        2925 Eden Street, Apt. 168
Eddie Rudolph                           Pascagoula, MS 39581
5024 Belwood Street
Moss Point, MS 39563                    Patrick Thompson
                                        1310 Bowen Avenue
Vilonie Sauls                           Ocean Springs, MS 39564
1024 Front Street
Bogalusa, LA 70427                      Debra Jo Tillman
                                        5808 Tillman Road
Andrew Crain                            Pascagoula, MS 39581
1024 Front Street
Bogalusa, LA 70427                      William Torguson
                                        2104 12th Street
Alter Sherman                           Pascagoula, MS 39567
1313 Heritage Drive
Gautier, MS 39553                       Chintinar Torguson
                                        2104 12th Street
Joyce Sherman                           Pascagoula, MS 39567
1313 Heritage Drive
Gautier, MS 39553                       Faith Tucker
                                        190 St. Paul Street
Michael A. Simpson                      Biloxi, MS 39531
2224 Magnolia Street
Waveland, MS 39576                      Carolyn Wallace
                                        200 Mason Court
Holly Smith                             Ocean Springs, MS 39564
4602 Ingalls Avenue
Pascagoula, MS 39581



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Alena Wallace, Minor, Carolyn Wallace,           James Wainwright, Jr.
Grandmother and Personal Representative          7100 Bayou La Croix Road
200 Mason Court                                  Bay St. Louis, MS 39520
Ocean Springs, MS 39564
                                                 Kelly Watson
Darien Wallace, Minor, Carolyn Wallace,          Post Office Box 3623
Grandmother and Personal Representative          Bay St. Louis, MS 39520
200 Mason Court
Ocean Springs, MS 39564

Aaron Wallace
200 Mason Court
Ocean Springs, MS 39564

John Whatley
4203 Greenwood Avenue
Pascagoula, MS 39581

Vaughn Colfax Wright, Sr.
Post Office Box 8481
Moss Point, SM 39562

Wendy Wright
Post Office Box 8481
Moss Point, MS 39562

Vaughn Colfax Wright, Jr., Minor, Wendy
Wright, Mother and Personal Representative
Post Office Box 8481
Moss Point, MS 39562

Janet Wainwright
7100 Bayou La Croix Road
Bay St. Louis, MS 39520

James Wainwright, Sr.
7100 Bayou La Croix Road
Bay St. Louis, MS 39520




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                        Installed by CH2M Hill Constructors, Inc.

Manuel Romero
13317 John Clark Road
Gulfport, MS 39503

Terri Romero
13317 John Clark Road
Gulfport, MS 39503

Josie Tatum
271 Bohn Street
Biloxi, MS 39530

John Henry Weber
9955 Brent Avenue
Ocean Springs, MS 39564

Michael Weber
9955 Brent Avenue
Ocean Springs, MS 39564

Robert Wilk
15025 Dantzler Road
Ocean Springs, MS 39564

Edith Williams
1206 Robinson Street
Ocean Springs, MS 39564

Ruthie Woulard
16234 Hudson Street
Gulfport, MS 39501

                                   Unknown Installer

Stephen Young
2511 17th Avenue
Gulfport, MS 39501



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                                              Respectfully submitted,

                                              Law Office of Frank J. D’Amico, Jr., APLC

                                              /s/ Frank J. D’Amico, Jr.____________
                                              Frank J. D’Amico, Jr. (LA Bar #17519)
                                              622 Baronne Street
                                              New Orleans, LA 70113
                                              Tel: (504) 525-7272
                                              Fax: (504) 525-1073
                                              Email: frank@damicolaw.net




                                              Catherine Jacobs, Esq. (MSB # 2979)
                                              1161 Robinson Street
                                              Ocean Springs, MS 39564
                                              Tel: (228) 872-4642
                                              Fax: (228) 872-4698
                                              Email: cathyftla@gamil.com

                                              ATTORNEYS FOR PLAINTIFFS


                                 CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading was served on all counsel of record

through electronic notification pursuant to the electronic filing of the United States District Court

for the Eastern District of Louisiana this 18th day of June, 2010.



                                              ____/s/ Frank J. D’Amico, Jr.____




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